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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

LIV GOLF, INC., Misc. Case No.

Movant,

Underlying Case, LIV Golf, Inc., et al. v. PGA
Tour, Inc., pending in the United States District
Court for the Northern District of California:

Vv.

CLOUT PUBLIC AFFAIRS, LLC,

Respondent. Case No. 5:22-cv-04486-BLF

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL CLOUT PUBLIC
AFFAIRS, LLC TO COMPLY WITH SUBPOENA TO PRODUCE DOCUMENTS

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PRELIMINARY STATEMENT

This motion concerns compliance with a third-party subpoena to Clout Public Affairs, LLC
(“Clout”), a public relations firm that describes itself as specializing in “grassroots campaigns to
influence policy makers.”! In the underlying action, LIV Golf, Inc., et al. v. PGA Tour (N.D. Cal.),
LIV Golf, Inc. (“LIV”),? a new entrant professional golf league, is suing the PGA Tour, Inc. (the
“Tour”) for illegally maintaining a monopoly and monopsony over men’s professional golf and
colluding with others in what the Tour euphemistically terms the “golf ecosystem” to block LIV’s
entry. A key part of the Tour’s anticompetitive scheme was to threaten to ban (and in fact ban)
Tour member golfers for life if they played in LIV events. The Tour knew (as the Tour’s
Commissioner, Jay Monahan, stated in internal strategy documents) that if it could choke off LIV’s
supply of elite golfers, LIV would either not survive or be so hobbled it could not effectively
challenge the Tour’s dominance. To justify this egregiously anticompetitive behavior, the Tour
claimed it was protecting the Tour’s reputation from the “taint” of the Kingdom of Saudi Arabia,
LIV’s principal investor is Saudi Arabia’s sovereign wealth fund, the Public Investment Fund
(“PIF”). According to the Tour, its anticompetitive policies, including player bans, on LIV and its
players are justified to insulate the Tour from anti-Saudi public sentiment associated with LIV.
See infra BACKGROUND Part B-D.

As it turns out, the PGA Tour itself has been secretly fomenting the very anti-Saudi

sentiment that it now uses to justify its illegal conduct. The Tour has been running a clandestine

1 See Declaration of Dominic Surprenant dated December 12, 2022 (“Surprenant Decl.”’)
Ex, 2 at 3.

2 The Tour insists on referring to LIV as “SGL,” the “Saudi Golf League.” See Surprenant
Decl. Ex. 3 at 2 (

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public relations campaign to smear LIV for its Saudi funding and to oppose “Saudi Golf.” The
Tour hired Clout to front this campaign, insisting that Clout conceal the Tour’s orchestration of
this effort. The Tour has produced evidence in the underlying lawsuit of its scheme, including
evidence that it organized and likely funded 9/11 protests at LIV Golf tournaments and ran adjacent
media campaigns against LIV. The PGA Tour launched this campaign not to help 9/11
associations (which received hundreds of thousands of dollars before the anti-Saudi protests at
LIV tournaments), but to support its campaign against LIV. The Tour has secretly directed,
coordinated, and funded public protest, defamatory advertising, and other tactics to stir up anti-
Saudi sentiment directed at its first-ever global competitor, all in an effort to maintain its unlawful
monopoly. The Tour knew how bad it would look if its fingerprints were on the campaign to link
LIV Golf to the tragedy of the September 11th attacks, so the Tour hid behind Clout.

LIV describes and quotes below documents produced by the Tour that indicate the scope
and depth of Clout’s role in organizing this astroturf campaign and manufacturing anti-Saudi
sentiment against LIV. However, critical evidence of the scheme resides solely with Clout.
Evidence from Clout of the Tour’s scheme to create the very anti-Saudi “taint” that the Tour uses
to justify banning its own members for daring to play in a LIV event is highly relevant to the claims
and defenses in the underlying action and to the Tour’s credibility (and perfidy). This evidence
goes directly to the issue of pretext. LIV respectfully requests that its targeted, seven-request

subpoena be enforced in full?

3 Exhibit 1 to the Surprenant Decl. is a true and correct copy of the subpoena.
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BACKGROUND

A. Plaintiffs’ Relevant Allegations

LIV’s Amended Complaint describes in detail the Tour’s schemes to block LIV’s effective
entry into the relevant markets. Plaintiffs allege that the Tour “is a monopolist and/or a
monopsonist in two relevant product markets: (1) the market for the services of professional
golfers for elite golf events, and (2) the market for the promotion of elite professional golf events.”
ECF No. 83 § 263.’ Specifically, the Tour has illegally sought to maintain its monopolies by:

(1) unreasonably restrictive regulations [on PGA Tour member golfers], (2) threats of and

now imposition of career-threatening bans [on golfers who play LIV Golf events], (3)

multi-year suspensions of the Player Plaintiffs and other members who played at LIV Golf

events, (4) the promise it will visit the ‘same fate’ on any [PGA Tour] member who follows

their example, (5) the Tour’s threats and punishments to non-members who participate in

LIV events and a wide range of other businesses who aspired to do business with LIV Golf
Id. § 287. Further, LIV alleges that the PGA Tour:

has threatened Tour members’ agents and business partners with punishment if the players

joined LIV Golf. In addition, the Tour has threatened numerous vendors and small

companies in the golf and sports production industry that they will be blacklisted from
working with the Tour if they work with LIV Golf.

The Tour has also threatened sponsors and broadcasters that they must sever their
relationships with players who join LIV Golf, or be cut off from having any opportunities
with the PGA Tour....

Id. 11.
The Tour also conspired with the European Tour and others to exclude LIV and other new

entrants in violation of Section 1 of the Sherman Act. See id. § 11.c., 98, 131-51, 341-53 (alleging

Section 1 conspiracy).

4 Docket citations are to those in the underlying action LIV Golf, Inc., et al. v. PGA Tour,
Inc., Case No. 5:22-cv-04486-BLF (N.D. Cal.).
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B. The Tour’s Defense That It Is Protecting Itself from Supposed Saudi “Taint”

A primary Tour defense to these claims is that LIV is funded by PIF, the sovereign wealth
fund of Saudi Arabia. The Tour contends that it had no choice but to ban its own members if they
play in a single LIV event, because it “will suffer irreparable reputational damage if it is forced to
give a stage to players engaged with LIV and to associate the PGA TOUR brand with the Saudi
government’s ... deplorable reputation.” ECF No. 50 at 23. The Tour defends itself by pointing
to anti-Saudi protests and sentiment associated with LIV and its tournaments. See ECF No. 169
at 18:16-20 (raising “the TOUR’s defenses ... that Saudi Arabia’s reputation—not [the Tour’s]
anticompetitive conduct—is the reason why sponsors, broadcasters, and others have distanced
themselves from LIV”); ECF No. 148 at 19 (arguing that the Tour properly “seeks evidence that
its enforcement of its Regulations serves the pro-competitive purpose of protecting the TOUR’s
reputation from association with LIV and LIV players’ controversial Saudi Arabian backers”).

C. The Tour’s Defense Is Based on Protests and Opposition It Funded and
Fomented

At the outset of this case, several LIV golfers sought a temporary restraining order to
prohibit the Tour from blocking them from playing in the FedEx Cup, the Tour’s season-ending
playoffs for which those LIV golfers had qualified. The Tour opposed that motion in part on the
ground that it was justified in not associating with LIV golfers because of Saudi taint:

The public outrage and political backlash aimed at golfers who have joined LIV reinforces
the TOUR’s concerns. After Pumpkin Ridge Golf Club (outside Portland, Oregon)
announced that it would host a LIV tournament on July 1-3, eleven mayors in Washington
County (where Pumpkin Ridge is located) signed an open letter opposing the tournament,
numerous members of the club protested the decision, and an estimated forty club members
resigned. U.S. Senator Ron Wyden, spoke out against the Oregon LIV event, citing a hit-
and-run accident that killed an Oregon teen and how the Saudi-national defendant was
shuttled out of the U.S. by the Saudi government before he could stand trial. In addition,
several protesters, including members of 9/11 survivor families, gathered outside Pumpkin
Ridge and again at the Trump resort in Bedminster, New Jersey, to protest LIV events.
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ECF No. 50 at 23 (emphasis added; citations omitted). However, the Tour failed to disclose that
each of these instances of “public outrage” and “political backlash” stemmed from the Tour’s and
Clout’s own clandestine campaign.

First, the Tour and Clout orchestrated opposition to the initial LIV Portland event,
including a letter from eleven mayors and members of the host club:

Surprenant Decl. Ex. 3 (emphasis added); id. Ex. 4 (emphasis added) (a ee |
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Second, the Tour and Clout cynically exploited a tragic hit-and-run story from 2019 to

generate anti-Saudi press:

Id. Ex.3 at3; id. Ex, 7 rr
ic. x. 8 ot 3
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Third, and incredibly, the Tour and Clout orchestrated 9/11 protests outside of LIV’s
tournaments. They apparently did so through, among other things, organizing 501(c)(4) tax-

exempt organizations to funnel resources to this effort. Well before that event, Clout had been

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Dn (7. Ex. 10 (emphasis added); id. Ex. 11 a2 Cia
es: i. Ex.12 2 ae
nen); i Ex.3 2 ae
Rs). These efforts apparently included Clout

orchestrating the involvement of others through 501(c)(4) entities. Jd. Ex. 10 |

aa: .

D. Clout’s Other Activities to Generate “Outrage”

The Tour initially envisioned using Clout for a widespread ie.

Surprenant Decl. Ex. 13 at 5. The Tour’s clandestine campaign soon broadened to encompass

additional lines of attack on LIV.

Clout Engages with Local Organizations and Entities to Generate “Public Outrage”
and with Elected Officials to Generate “Political Backlash”

At each U.S. LIV tournament site, the Tour and Clout engaged in furtive efforts to hamper

the tournament’s success, and ultimately LIV’s viability. See Surprenant Decl. Ex. 14 at 2 i
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_ aT
The Tour and Clout also targeted the highest levels of government and the media to foment
anti-LIV sentiment. See Jd. Ex. 15 at 2

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Ex es: id. 2x. 17 ot 2 ae

In opposition to the players’ motion for a TRO, the Tour said nothing of its clandestine
efforts when it emphasized to the court that “[f]ans and community members have ... protested
LIV’s events, including, organizations seeking justice for the victims and families affected by the
9/11 attacks.” ECF No. 50 at 13.

The Tour and Clout Incite Opposition Through Sports and Political Media — Television,
Social, Podcasts, Op-Eds, Online Golf Forums, Etc.

The Tour and Clout engaged additional media to further their anti-Saudi narratives. See,

e.g., Surprenant Decl. Ex, 18 rr ic.
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Yet the Tour remained silent on its prominent role in these stealth efforts to amplify an
anti-Saudi narrative when it argued to the Court that “LIV has already been a constant distraction
at recent TOUR events,” and that “at the recent 150th Open Championship, one of professional
golf’s most historic tournaments, prominent TOUR members expressed frustration with the
unwanted media focus on LIV rather than the tournament.” ECF No. 50 at 22.

The Tour Targets Players’ and Tournaments’ Sponsors

Clout also advised the Tour on how to use the Tour’s negative publicity campaigns to push

sponsors away from LIV:

Surprenant Decl. Ex. 22 at 4; see also id. Ex. 23 at 2 i oe |
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ar | However, the Tour was silent again on its role in creating this pressure

when it told the Court that “[a] temporary restraining order would ... force the TOUR’s partners
and sponsors to be associated with LIV and its backers. Many of the TOUR’s partners and sponsors
have made independent decisions to have no relationship with LIV but would be forced into an

affiliation with them.” ECF No. 50 at 23.
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The Tour’s Illegal Player Bans

Clout even framed the public narrative for the Tour’s bans of players. One email recounted

a meeting between [ii

Surprenant Decl. Ex. 3 at 2; see also id. Ex. 24 iS ne |
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E. The PGA Tour’s Public Stance

Hiding behind Clout’s stealth campaign, the Tour pretended that these anti-Saudi
sentiments had emerged organically. Two examples make the point.

Days before LIV’s Portland event, PGA Tour Commissioner Jay Monahan appeared on
national television during the RBC Canadian Open. During his extended interview, Monahan went
to lengths to allude to anti-Saudi sentiment, including the protests and opposition from 9/11
organizations. What Monahan concealed from millions of viewers is that the PGA Tour itself—

aided and abetted by Clout—was working feverishly behind the scenes to generate this very anti-

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Saudi sentiment.’ See generally https://www.pgatour.com/video/2022/06/12/jay-monahan-joins-
cbs-booth-to-discuss-state-of-pga-tour-at-rbe-.html.

PGA Tour Commissioner Monahan also was working this issue at the highest levels of

govemment. A PGA Tour document revea!s [iii

GE Surprenant Decl. Ex. 32. Monahan does not mention that the PGA Tour itself was
fomenting these protests.
ARGUMENT

I. LIV’s Requests Seek Relevant Documents

Rule 26 permits “discovery regarding any nonprivileged matter that is relevant to any
party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The
scope of production in response to a subpoena is governed by the same relevancy standard. See
AF Holdings LLC v. Does 1-1,058, 286 F.R.D. 39, 46 (D.D.C. 2012). Under that rule, “[p]arties
may obtain discovery regarding any non-privileged matter that is relevant to any party’s claim or
defense.” Fed. R. Civ. P. 26(b)(1). This standard “has been construed broadly to encompass any
matter that bears on, or that reasonably could lead to other matter that could bear on, any issue that
is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Ifa non-
party refuses to provide relevant information in response to a subpoena, the requesting party may

move to compel compliance. See Fed. R. Civ. P. 37(a) & 45(d)(2)(B)Q).

> In deconstructing the interview,

Commissioner Monahan talked about *
x and that this story “

.”’ Surprenant Decl. Ex. 35 at 2.

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Clout concedes that most of LIV’s requests seek relevant documents. Clout’s relevance
objections for the other categories are specious.

To begin, Clout’s objections are premised on the unfounded proposition that LIV may only
seek evidence from Clout in relation to a single paragraph (Paragraph 11) of the complaint. See
Surprenant Decl. Ex. 26, Clout’s Objection Letter at passim (limiting any production to “public
communications ... described in Paragraph 11 of the Amended Complaint”; agreeing to produce
communications “to the extent ... made on behalf of the PGA Tour and are described in
Paragraph 11”; arguing that certain documents are “utterly irrelevant” and solely citing in support
“Paragraph 11”). That is obviously wrong. LIV’s discovery relates in significant part to the Tour’s
defenses in the litigation. LIV’s discovery efforts and Clout’s discovery obligations are not limited
to isolated allegations of the complaint but “broadly [ ] encompass any matter that bears on, or that
reasonably could lead to another matter that could bear on, any issue that is or may be in the case.”
Mamnina v. District of Columbia, 2022 WL 971205, at *5 (D.D.C. Mar. 31, 2022) (citation
omitted).

Request No. 1

Request No. 1 seeks relevant communications between the Tour and Clout. In response to
this request, Clout argues that “all communications” between Clout and the Tour “are not
necessarily relevant.” Surprenant Decl. Ex. 26 at 4. But LIV does not seek all communications.
Instead, request No. 1 seeks Clout’s communications with the Tour related to specific subject
matters that formed the basis of the Tour and Clout’s campaign, e.g., LIV Golf, Saudi Arabia, and

September 11.

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Request No. 2

Request No 2 seeks documents “related to [Clout’s] consulting services provided to the
PGA Tour” for the same subjects identified in Request 1. On this request, Clout objects to
producing “Clout’s internal communications.” Clout asserts, without explanation, that “a public
relations firm’s internal, deliberative, unshared work product and discussion cannot possibly be
relevant to Plaintiffs’ antitrust claims.” Surprenant Decl. Ex. 26 at 5. Clout then seeks to limit the
universe of relevance to one aspect of one paragraph of the Amended Complaint: “‘threats’
directed to various golfers, vendors, and organizations outside of the PGA Tour.” Jd. This
objection is meritless.

First, Clout’s internal documents are highly relevant. Clout was hired by the Tour to
formulate and execute strategies to defeat LIV and manufacture pretextual justifications for its
anticompetitive actions. Clout’s internal documents are needed to obtain a complete picture of
what this strategy entailed—for example, what precisely Clout did and what its reasoning and

purpose were, as well as how its efforts fit into the Tour’s overall strategy. For example, Clout

provided the Tour with [itt
Surprenant Decl. Exs. 27, 28. Such “internal documents” are relevant and discoverable.

Clout’s internal communications will also reflect its oral communications with the Tour.

For example, the Tour’s documents show that [iit
(_ a ae See Surprenant Decl. Ex. 29 at 2, Ex. 30 at 3 7
eae Clout doubtlessly made notes during the meeting and sent internal

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emails or other documents about this “jit

ii ~ The same is true of Clout’s other regular meetings with the Tour. LIV is entitled
to the notes and documents resulting from these meetings.

Clout’s internal documents regarding its strategies to orchestrate LIV’s demise with anti-
Saudi taint are central to the case. The Tour itself has put supposedly anti-Saudi sentiment at issue.
These documents are relevant because they will expose that the Tour’s supposed justification for
certain of its anticompetitive conduct is pretextual. See, e.g., Image Tech. Services, Inc. v. Eastman
Kodak, 125 F.3d 1195, 1219 (9th Cir. 1997) (finding evidence relevant to “show pretext, when
such evidence suggests that the proffered business justification played no part in the decision to
act” and that “the aims of ... the antitrust laws [do not] justify allowing a monopolist to rely upon
a pretextual business justification to mask anticompetitive conduct”); High Tech. Careers v. San
Jose Mercury, 996 F.2d 987, 991 (9th Cir. 1993) (finding evidence of pretext where the
defendant’s “proffered business justification [was] suspect” because it “appear[ed] inconsistent
with” defendant’s other actions).

Clout’s internal documents are also necessary because Clout and the Tour attempted to

conceal the Tour’s participation in the scheme. See Surprenant Decl. Ex. 3 at 3 (emphasis added)

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nn): ic) Ex. 4 at 2 (emphasis
| A a TS,
lS a. Clout proposes to limit the subpoena only to external

communications made “on behalf of” the Tour. But a central part of Clout’s role was to engage in

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clandestine actions—actions i ____.” LIV is entitled to all of Clout’s

documents—whether “internal” or “external”—on these crucial subjects.

Further, the evidence shows that Clout was the Tour’s public relations agent, such that
Clout’s actions and statements are attributable to the Tour. The Tour’s documents show that Clout
and the Tour regularly communicated on the Tour’s public relations schemes, and that Clout made

recommendations to the Tour on what to do and how to do it. The Tour controls Clout’s action in

detail. See, e.g., Surprenant Decl. Ex. 3 at 2-3 = ne
id. Ex. 4 at 2 rr): ic ex. 24
ns: ii. Cx. 25 2
Ln): 2x ts
SE eee Such a relationship is one of principal and agent.

See Palmer v. Gotta Have It Golf Collectibles, Inc., 106 F. Supp. 2d 1289, 1301 (S.D. Fla. 2000)
(recognizing a “public relations manager” was an agent of a golfer such that the golfer could not
have conspired with said manager); Rojas v. Fed. Aviation Admin., 927 F.3d 1046, 1063 (9th Cir.
2019) (J. Christen, concurring) (stating that the Ninth Circuit has “recognized that consultants are
agents whose statements can bind their paying clients”) (citing Reid Bros. Logging Co. v.
Ketchikan Pulp Co., 699 F.2d 1292, 1306 (9th Cir. 1983)) vacated on rehearing, 989 F.3d 666
(9th Cir. 2021); Beck v. Haik, 377 F.3d 624, 638-40 (6th Cir. 2004) (holding that a consultant’s
statements that “dealt directly with the subject matter” of the consultancy and were “expressed
during the course of that relationship” were admissible under Fed. R. Evid. 801(d)(2)(D) as
statements of the party through its agent) overruled on other grounds by Adkins v. Wolever, 554
F.3d 650, 651 (6th Cir. 2009). Clout has admittedly offered to produce documents of external acts

taken “on behalf of the Tour,” an admission that Clout acted as the Tour’s agent. See Henderson

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v. Charles E. Smith Memt., Inc., 567 A.2d 59, 62 (D.C. 1989) (“[A]n agency relationship results
when one person authorizes another to act on his [or her] behalf subject to his [or her] control, and
the other consents to do so.” (quoting Smith v. Jenkins, 452 A.2d 333, 335 (D.C. 1982)).

At a minimum, LIV is entitled to explore whether Clout was an agent of the Tour whose
statements could bind the Tour. Clout’s internal documents are discoverable for this purpose
because they will confirm whether the Tour controlled Clout’s actions and whether Clout viewed
itself as an agent of the Tour.

Second, Clout cannot unilaterally limit relevance to its involvement with “‘threats’ directed
to various golfers, vendors, and organizations outside of the PGA Tour.” Surprenant Decl. Ex. 26
at 5. While Clout’s admission that it was involved in these threats underscores the need for Clout’s
documents, the relevance of Clout’s activities goes far beyond this one aspect of the underlying
lawsuit. On the contrary, discovery of Clout is relevant to counter the Tour’s proffered
procompetitive justifications and the Tour’s use of Clout to block the entry of the Tour’s most
significant competitor. See, e.g., E. R. R. Presidents Conference v. Noerr Motor Freight, Inc. , 365
U.S. 127, 144 (1961) (stating that the Sherman Act applied to “a publicity campaign ... [that is]
an attempt to interfere directly with the business relationships of a competitor”); Trucking
Unlimited v. Cal. Motor Transp. Co., 432 F.2d 755, 757 (9th Cir. 1970) (holding that the plaintiff
alleged an antitrust violation by the defendants which used a “widely publicized program” to
eliminate potential competitors); Int’l Wood Processors v. Power Dry, 593 F. Supp. 710, 721-22
(D.S.C. 1984) (affirming that actions to exclude the defendant’s only competitor from the relevant
market was an unreasonable restraint of trade despite the defendant’s argument that its actions
were necessary to “overcome” “the unsavory reputation” to the product at issue that was caused

by the plaintiff).

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Request Nos. 3, 4, 5, and 6

Request Nos. 3, 4, 5, and 6 respectively seek documents and communications related to

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“any public affairs campaign,” “any coalition development,” “any strategic and crisis
communications,” or “any competitive research” Clout “conducted related to LIV Golf, any golfer
who has participated in a LIV Golf tournament, or this lawsuit.”

Remarkably, Clout claims these requests seek documents irrelevant to the underlying

lawsuit, because it supposedly took these actions for clients other than the PGA Tour. LIV is

entitled to explore the veracity of the claim that Clout was doing anti-LIV work for any entity other

than the Tour.® For examp|e, ty
EE Surprenant Decl. Ex. 9 at 2. Clout cannot

undertake acts in connection with its smear campaign on behalf of the Tour and then hide evidence
of those acts behind the claim that it was supposedly acting for a different nominal “client.”
Clout’s work for these “other” clients—if there are any—on the same subject matters and to the
same ends as Clout’s work for the Tour is therefore discoverable.

Finally, LIV is entitled to explore what acts can be attributed to the Tour and which—if
any—cannot because they were supposedly taken on behalf of another Clout client. LIV cannot
do so without Clout’s documents on the subject matter. The degree of relevance of these
documents is underscored by evidence that Clout subversively manufactured evidence for the Tour
by engaging in attack campaigns against LIV Se |
es Surprenant Decl.

6 Indeed, LIV has alleged a Tour-lead group boycott of LIV. See, e.g., ECF No. 83 493,
341-53. If others who were part of that boycott directed or funded this work, it is equally relevant.

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Ex. 3 at 3; id. Ex. 4 at 2; id. Ex. 10 at 2. And, if-—-as Clout suggests—there are co-conspirators or
intermediaries that Clout engaged with as part of its effort to accomplish the Tour’s goals but
without the Tour’s fingerprints, LIV is entitled to the evidence showing this effort, including
organizing 501(c)(4) entities to conceal and funnel resources to wage this campaign. Again, Clout
cannot limit relevance to a specific paragraph of the complaint.

Request No. 7

Request No. 7 requests communications by Clout with certain anti-Saudi groups related to
the subject matter set forth in Requests Nos. 1 and 2. Clout objects to this request as “utterly
irrelevant” because certain groups listed in the request “are never mentioned or even alluded to in
the Plaintiffs’ sprawling Amended Complaint.” Clout again improperly attempts to limit discovery
to a single cherry-picked paragraph of the complaint. This request seeks relevant evidence beyond
that paragraph, i.e., evidence regarding Clout’s (and, by extension, the Tour’s) use of the identified

groups as part of the smear campaign orchestrated against LIV and its players, which the Tour uses

to justify its wrongful acts. See Surprenant Decl. Ex. 9 at 2 | i Pe. flo!
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I. Clout’s First Amendment Objection Is Meritless

Clout asserts a First Amendment claim of other persons to prevent a private actor, LIV,

from discovering Clout’s commercial activity. This argument fails.

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On its website, Clout boasts that it is a public relations hired gun. Surprenant Decl. Ex. 2
at 3 (“Clout Public Affairs is a full-service public strategy and consulting firm that brings together
expertise in communications, policy and politics to execute winning strategies for our clients...
we do what it takes to win.”’). As a commercial actor, Clout cannot use the First Amendment to
shield its own documents from discovery. See, e.g., Bean LLC v. John Doe Bank, 291 F. Supp. 3d
34, 46 (D.D.C. 2018) (“While the opposition research Fusion conducted on behalf of its clients
may have been political in nature, Fusion’s commercial relationship with those clients was not,
and thus that relationship does not provide Fusion with some special First Amendment protection
from subpoenas.”); Fed. Election Comm’n v. Automated Bus. Services, 888 F. Supp. 539, 542
(S.D.N.Y. 1995) (citation omitted) (“The mere vending of goods or services to a political
association neither evinces support for that association, nor makes the vendor a member of that
association. Thus, the First Amendment clearly affords no such protection to vendors of goods or
services to political associations.”).

All of the cases that Clout cited in its objections and during the meet and confer concern
the government attempting to compel identities of persons associated with certain groups—facts
not at issue here. See NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460 (1958) (blocking
“compelled disclosure of the [NAACP’s] membership lists” to the state of Alabama); Int'l Action
Ctr. v. United States, 207 F.R.D. 1, 3 (D.D.C. 2002) (blocking discovery by the USS. of political
groups’ “membership and volunteer lists, contributor lists, and past political activities of plaintiffs
and of those persons with whom they have been affiliated”); Black Panther Party v. Smith, 661
F.2d 1243, 1269-70 (D.C. Cir. 1981) (vacating order permitting disclosure to government officials

of identifies of members of Black Panther Party), judgment vacated sub nom. Moore v. Black

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Panther Party, 458 U.S. 1118 (1982). LIV is not seeking membership lists, nor is LIV the
government.

Even if Clout could point to a single factually similar case, it does not have standing to
invoke the purported rights of other unidentified “clients.” Elec. Privacy Info. Ctr. v. U.S. Dep’t
of Homeland Sec., 653 F.3d 1, 9-10 (D.C. Cir. 2011) (explaining a “litigant “generally must assert
his own legal rights and interests, and cannot rest his claim to relief on the legal rights or interests
of third parties’” (quoting Warth v. Seldin, 422 U.S. 490, 499, (1975)); ef NAACP, 357 U.S. at
458-60 (permitting NAACP to assert constitutional rights of its members to block disclosure of its
members’ association with the NAACP).

Ill. The Subpoena Does Not Place an Undue Burden on Clout

To avoid the requirements of Rule 45, Clout must demonstrate that its burden of responding
to the subpoena is “undue.” There are several factors courts look to in making this determination,
including “the needs of the case, the amount in controversy, the parties’ resources, the importance
of the issues at stake in the litigation, and the importance of the proposed discovery in resolving
the issues.” Phillips & Cohen, LLP vy. Thorpe, 300 F.R.D. 16, 18 (D.D.C. 2013). Clout argues
that compliance with the subpoena presents an “undue burden” because it has “what appears to be
a few thousand [responsive] documents” and that “the cost of production is, therefore, also
substantial.” Surprenant Decl. Ex. 26 at 5. Even if Clout detailed the costs of production (instead
of its conclusory statement), the costs of processing “a few thousand documents” are heavily
outweighed by factors favoring production.

Clout was hired by the Tour, which generates revenue of over $1.5 billion a year, see
Surprenant Decl. Ex. 36 at 3, to devise and execute a surreptitious public relations and grassroots
campaign to drum up evidence to justify the Tour’s efforts to exclude the Tour’s only serious

competitor in its existence, and to do so without the Tour’s fingerprints. This evidence is central

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to LIV’s case, and LIV’s subpoena is narrowly-tailored with seven requests tied to the issues in
which Clout was undisputedly involved. See Am. Standard Inc. v. Pfizer Inc., 828 F.2d 734, 743
(Fed. Cir. 1987) (“Need is enhanced when information is uniquely available from the party from
whom it is sought.”). The subject matter of the underlying lawsuit is so serious that the Antitrust
Division of the Department of Justice has launched an investigation into the Tour’s anticompetitive
conduct. See generally Surprenant Decl. Exs. 33, 34. A simple Google search shows that the
underlying lawsuit is of national (and international) importance. In the underlying matter, LIV has
produced over 110,000 documents in the span of a few months. Surprenant Decl. 2. Put in
proper perspective, the burden on Clout is minimal.
CONCLUSION
For these reasons, LIV respectfully requests the Court to compel Clout to comply with the

subpoena in full.

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Dated: December 13, 2022 LE a

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on December 13, 2022, a true and correct copy of the foregoing
and all related notices, declarations, and exhibits to which Clout is entitled under the protective

order in the underlying action, were served on counsel for Clout Public Affairs, LLC using the

below email addresses:

Edward D. Greim: edgreim@gravesgarrett.com

Additionally, IHEREBY CERTIFY that on December 13, 2022, I caused a true and correct
copy of the foregoing and all related notices, declarations, and exhibits to which Clout is entitled
under the protective order in the underlying action, to be served on counsel for Clout Public

Affairs, LLC by mail via first class mail on:

Clout Public Affairs, LLC
c/o Edward D. Greim

Graves Garrett LLC

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